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15
                                 IN THE UNITED STATES DISTRICT COURT
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                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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      CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-CV-04155-YGR
19    PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
      A.S.; and L.T., individuals on behalf of themselves     ADMINISTRATIVE MOTION TO
20    and all others similarly situated,                      CONSIDER WHETHER ANOTHER
                                                              PARTY’S MATERIAL SHOULD BE
21                   Plaintiffs,                              SEALED REGARDING PORTIONS
22           v.                                               OF PLAINTIFFS’ REPLY POST-
                                                              EVIDENTIARY HEARING BRIEF
23    UNITED STATES OF AMERICA FEDERAL
      BUREAU OF PRISONS, et al.,
24
                     Defendants.
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     AMFUS re Plaintiffs’ Reply Post-Evidentiary Hearing Brief       Case No. 4:23-CV-04155-YGR
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 1          Pursuant to Civil L.R. 7-11 and 79-5(f), Plaintiffs submit this Administrative Motion To

 2   Consider Whether Another Party’s Material Should Be Sealed Regarding Portions Of Plaintiffs’

 3   Reply Post-Evidentiary Hearing Brief.

 4          Portions of Plaintiffs’ Reply Post-Evidentiary Hearing Brief (“Plaintiffs’ Reply”) contain

 5   material that the Federal Defendants have filed under seal in this matter, or is derived from such

 6   material. Plaintiffs expect that the Federal Defendants will submit a declaration in support of

 7   sealing this material pursuant to Civil L.R. 79-5. Plaintiffs reserve the right to challenge Federal

 8   Defendants’ maintenance of this information under seal but submit this motion based on Federal

 9   Defendants’ prior requests to seal this information.

10          A redacted version of Plaintiffs’ Reply is being publicly filed.

11

12   Dated: February 23, 2024                      Respectfully submitted,

13                                                 ARNOLD & PORTER KAYE SCHOLER LLP
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                                                   By: /s/ Carson D. Anderson
15                                                     Carson D. Anderson

16                                                 Attorneys for Plaintiffs
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     AMFUS re Plaintiffs’ Reply Post-Evidentiary Hearing Brief           Case No. 4:23-CV-04155-YGR
